                   Case 12-21985       Doc 80     Filed 10/12/17    Page 1 of 3



                      UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF MARYLAND
 _____________________________________
 In re:                              )
                                     )
 JUDIA FAY HERRINGTON                )    Case No. 12-21985
                                     )    (Chapter 13)
                                     )
 Debtor                              )
____________________________________ )
                                     )
WELLS FARGO BANK, N.A.               )
        Movant                       )
                                     )
v.                                   )
                                     )
JUDIA FAY HERRINGTON                 )
        Respondent                   )


      MOTION TO EXTEND ANSWER DATE BY THREE WEEKS AND TO MOVE
                  HEARING DATE TO NOVEMBER 30, 2017

              JUDIA FAY HERRINGTON (the “Debtor”), by undersigned counsel, John D.

Burns, Esquire, and The Burns Law Firm, LLC, files this Motion to Extend Answer Date by Three

Weeks and to Move Hearing Date to November 30, 2017 (the “Motion”), and states as follows:

              1.      This Court has jurisdiction over this contested matter pursuant to 28 U.S.C.

§§ 1334(b) and 157(b). This is a core proceeding pursuant to 28 U.S.C. § 157(b).

              2.      Debtor filed an Amended Chapter 13 Plan [Dkt 59] which was confirmed on

or about Mary 19, 2013 [Dkt. 60].

              3.      Debtor has apparently performed under the Plan but the Trustee has advised

Debtor's counsel that the Debtor obtained additional financing without Court approval and is trying

to close out her case in a manner not allowed by the Bankruptcy Code.

              4.      Debtor is not cooperating with counsel in respect of obtaining approvals


                                                1
                       Case 12-21985     Doc 80     Filed 10/12/17     Page 2 of 3



retroactively for financing from an insider that never should have been obtained and on terms and

conditions that counsel believes the Court likely would not approve.

               5.        Debtor has advised counsel that she does not want counsel to further

represent her in this matter. and Debtor has been taking actions of which she has not advised

counsel and which impact the estate. As a result, counsel cannot represent the Debtor any further

and has sent Debtor a seven day notice letter per Local Rule 9010-4 advising the Debtor that

counsel will be withdrawing from representation.

               6.        Counsel requests a three week extension for Debtor to respond to the

Motion for Relief from Stay [Dkt. 78] filed by Wells Fargo Bank, NA on or about September 28,

2017, and that the Court move the hearing to November 30, 2017 so that Debtor has ample time to

obtain new counsel or reach a resolution with Wells Fargo Bank, N.A.

               7.        Counsel has called Mark Devan, counsel for Wells Fargo Bank, NA, but has

received no return call.

               8.        No memorandum accompanies this Motion pursuant to Local Rule 9013-2.

               WHEREFORE, the Debtor respectfully requests the Court enter an Order:

               (i)       Granting the Motion;

               (ii)      Extending the time three weeks for filing an answer to the Motion for Relief

                         from Stay [Dkt. 78] filed by Wells Fargo Bank, NA;

               (iii)     Continuing the hearing on the to the Motion for Relief from Stay [Dkt. 78]

                         filed by Wells Fargo Bank, NA to November 30, 2017; and




                                                   2
                     Case 12-21985      Doc 80     Filed 10/12/17     Page 3 of 3



              (iv)     Granting such other and further relief as equity and justice may require.



                                       Respectfully Submitted,

                                       /s/ John D. Burns, Esquire
                                       John D. Burns, Esquire (#22777)
                                       The Burns LawFirm, LLC
                                       6303 Ivy Lane; Suite 102
                                       Greenbelt, Maryland 20770
                                       (301) 441-8780
                                       info@burnsbankruptcyfirm.com
                                       Counsel for the Debtor

                                  CERTIFICATE OF SERVICE

              I hereby certify that on this 12th day of October, 2017, a copy of the foregoing
Debtor's Motion and proposed Order was served upon:

VIA ECF:
Timothy P. Branigan, Chapter 13 Trustee
14502 Greenview Dr., Suite 506
Laurel, MD 20708

Mark S. Devan, Esq.
Alba Law group, P.A.
11350 McCormick Rd.
Executive Plaza III, Suite 200
Hunt Valley, MD 21031

VIA FIRST CLASS MAIL, POSTAGE PRE-PAID:
Judia Fay Herrington
4721 Quadrant Street
Capitol Heights, MD 20743



                                       --------------/S/ John D. Burns--------------
                                       ____________________________________________
                                       John D. Burns




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